Case 2:21-cv-01515-FLA-SK Document 1 Filed 02/19/21 Page 1 of 7 Page ID #:1




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8
                               UNITED STATES DISTRICT COURT
9                             CENTRAL DISTRICT OF CALIFORNIA
10
11     Orlando Garcia,                            Case No.

12               Plaintiff,
                                                  Complaint For Damages And
13       v.                                       Injunctive Relief For Violations
                                                  Of: Americans With Disabilities
14     Gage Plaza LLC, a Nevada Limited           Act; Unruh Civil Rights Act
       Liability Company
15
                 Defendants.
16
17
           Plaintiff Orlando Garcia complains Gage Plaza LLC, a Nevada Limited
18
     Liability Company, and alleges as follows:
19
20
       PARTIES:
21
       1. Plaintiff is a California resident with physical disabilities. Plaintiff
22
     suffers from Cerebral Palsy. He has manual dexterity issues. He cannot walk.
23
     He uses a wheelchair for mobility.
24
       2. Defendant Gage Plaza LLC owned the real property located at or about
25
     2701 E Gage Ave, Huntington Park, California, upon which the business
26
     “Oportun” operates, in January 2021.
27
       3. Defendant Gage Plaza LLC owns the real property located at or about
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                                            1

     Complaint
Case 2:21-cv-01515-FLA-SK Document 1 Filed 02/19/21 Page 2 of 7 Page ID #:2




1    2701 E Gage Ave, Huntington Park, California, upon which the business
2    “Oportun” operates, currently.
3      4. Plaintiff does not know the true names of Defendants, their business
4    capacities, their ownership connection to the property and business, or their
5    relative responsibilities in causing the access violations herein complained of,
6    and alleges a joint venture and common enterprise by all such Defendants.
7    Plaintiff is informed and believes that each of the Defendants herein is
8    responsible in some capacity for the events herein alleged, or is a necessary
9    party for obtaining appropriate relief. Plaintiff will seek leave to amend when
10   the true names, capacities, connections, and responsibilities of the Defendants
11   are ascertained.
12
13     JURISDICTION & VENUE:
14     5. The Court has subject matter jurisdiction over the action pursuant to 28
15   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
16   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
17     6. Pursuant to supplemental jurisdiction, an attendant and related cause
18   of action, arising from the same nucleus of operative facts and arising out of
19   the same transactions, is also brought under California’s Unruh Civil Rights
20   Act, which act expressly incorporates the Americans with Disabilities Act.
21     7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
22   founded on the fact that the real property which is the subject of this action is
23   located in this district and that Plaintiff's cause of action arose in this district.
24
25     FACTUAL ALLEGATIONS:
26     8. Plaintiff went to Oportun in January 2021 with the intention to avail
27   himself of its services and to assess the business for compliance with the
28   disability access laws.


                                               2

     Complaint
Case 2:21-cv-01515-FLA-SK Document 1 Filed 02/19/21 Page 3 of 7 Page ID #:3




1      9. Oportun is a facility open to the public, a place of public
2    accommodation, and a business establishment.
3      10. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
4    to provide wheelchair accessible parking in conformance with the ADA
5    Standards as it relates to wheelchair users like the plaintiff.
6      11. Oportun provides parking to its customers but fails to provide any
7    wheelchair accessible parking.
8      12. A few problems that plaintiff encountered is that the parking stall and
9    access aisle marked and reserved for persons with disabilities had slopes that
10   exceeded 2.1%. There was no “NO PARKING” warning on the access aisle
11   and no ADA signage in front of the parking space.
12     13. Plaintiff believes that there are other features of the parking that likely
13   fail to comply with the ADA Standards and seeks to have fully compliant
14   parking available for wheelchair users.
15     14. On information and belief, the defendants currently fail to provide
16   wheelchair accessible parking.
17     15. These barriers relate to and impact the plaintiff’s disability. Plaintiff
18   personally encountered these barriers.
19     16. As a wheelchair user, the plaintiff benefits from and is entitled to use
20   wheelchair accessible facilities. By failing to provide accessible facilities, the
21   defendants denied the plaintiff full and equal access.
22     17. The failure to provide accessible facilities created difficulty and
23   discomfort for the Plaintiff.
24     18. Even though the plaintiff did not confront the barrier, the entrance door
25   hardware has a pull bar style handle that requires tight grasping to operate.
26   Plaintiff seeks to have this barrier removed as it relates to and impacts his
27   disability.
28     19. The defendants have failed to maintain in working and useable


                                              3

     Complaint
Case 2:21-cv-01515-FLA-SK Document 1 Filed 02/19/21 Page 4 of 7 Page ID #:4




1    conditions those features required to provide ready access to persons with
2    disabilities.
3      20. The barriers identified above are easily removed without much
4    difficulty or expense. They are the types of barriers identified by the
5    Department of Justice as presumably readily achievable to remove and, in fact,
6    these barriers are readily achievable to remove. Moreover, there are numerous
7    alternative accommodations that could be made to provide a greater level of
8    access if complete removal were not achievable.
9      21. Plaintiff will return to Oportun to avail himself of its services and to
10   determine compliance with the disability access laws once it is represented to
11   him that Oportun and its facilities are accessible. Plaintiff is currently deterred
12   from doing so because of his knowledge of the existing barriers and his
13   uncertainty about the existence of yet other barriers on the site. If the barriers
14   are not removed, the plaintiff will face unlawful and discriminatory barriers
15   again.
16     22. Given the obvious and blatant nature of the barriers and violations
17   alleged herein, the plaintiff alleges, on information and belief, that there are
18   other violations and barriers on the site that relate to his disability. Plaintiff will
19   amend the complaint, to provide proper notice regarding the scope of this
20   lawsuit, once he conducts a site inspection. However, please be on notice that
21   the plaintiff seeks to have all barriers related to his disability remedied. See
22   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
23   encounters one barrier at a site, he can sue to have all barriers that relate to his
24   disability removed regardless of whether he personally encountered them).
25
26   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
27   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
28   Defendants.) (42 U.S.C. section 12101, et seq.)


                                               4

     Complaint
Case 2:21-cv-01515-FLA-SK Document 1 Filed 02/19/21 Page 5 of 7 Page ID #:5




1      23. Plaintiff re-pleads and incorporates by reference, as if fully set forth
2    again herein, the allegations contained in all prior paragraphs of this
3    complaint.
4      24. Under the ADA, it is an act of discrimination to fail to ensure that the
5    privileges, advantages, accommodations, facilities, goods and services of any
6    place of public accommodation is offered on a full and equal basis by anyone
7    who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
8    § 12182(a). Discrimination is defined, inter alia, as follows:
9             a. A failure to make reasonable modifications in policies, practices,
10                or procedures, when such modifications are necessary to afford
11                goods,    services,    facilities,   privileges,    advantages,   or
12                accommodations to individuals with disabilities, unless the
13                accommodation would work a fundamental alteration of those
14                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
15            b. A failure to remove architectural barriers where such removal is
16                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
17                defined by reference to the ADA Standards.
18            c. A failure to make alterations in such a manner that, to the
19                maximum extent feasible, the altered portions of the facility are
20                readily accessible to and usable by individuals with disabilities,
21                including individuals who use wheelchairs or to ensure that, to the
22                maximum extent feasible, the path of travel to the altered area and
23                the bathrooms, telephones, and drinking fountains serving the
24                altered area, are readily accessible to and usable by individuals
25                with disabilities. 42 U.S.C. § 12183(a)(2).
26     25. When a business provides parking for its customers, it must provide
27   accessible parking.
28     26. Here, accessible parking has not been provided in conformance with the


                                             5

     Complaint
Case 2:21-cv-01515-FLA-SK Document 1 Filed 02/19/21 Page 6 of 7 Page ID #:6




1    ADA Standards.
2      27. When a business provides facilities such as door hardware, it must
3    provide accessible door hardware.
4      28. Here, accessible door hardware has not been provided in conformance
5    with the ADA Standards.
6      29. The Safe Harbor provisions of the 2010 Standards are not applicable
7    here because the conditions challenged in this lawsuit do not comply with the
8    1991 Standards.
9      30. A public accommodation must maintain in operable working condition
10   those features of its facilities and equipment that are required to be readily
11   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
12     31. Here, the failure to ensure that the accessible facilities were available
13   and ready to be used by the plaintiff is a violation of the law.
14
15   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
16   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
17   Code § 51-53.)
18     32. Plaintiff repleads and incorporates by reference, as if fully set forth
19   again herein, the allegations contained in all prior paragraphs of this
20   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
21   that persons with disabilities are entitled to full and equal accommodations,
22   advantages, facilities, privileges, or services in all business establishment of
23   every kind whatsoever within the jurisdiction of the State of California. Cal.
24   Civ. Code §51(b).
25     33. The Unruh Act provides that a violation of the ADA is a violation of the
26   Unruh Act. Cal. Civ. Code, § 51(f).
27     34. Defendants’ acts and omissions, as herein alleged, have violated the
28   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s


                                              6

     Complaint
Case 2:21-cv-01515-FLA-SK Document 1 Filed 02/19/21 Page 7 of 7 Page ID #:7




1    rights to full and equal use of the accommodations, advantages, facilities,
2    privileges, or services offered.
3       35. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
4    discomfort or embarrassment for the plaintiff, the defendants are also each
5    responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
6    (c).)
7
8              PRAYER:
9              Wherefore, Plaintiff prays that this Court award damages and provide
10   relief as follows:
11           1. For injunctive relief, compelling Defendants to comply with the
12   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
13   plaintiff is not invoking section 55 of the California Civil Code and is not
14   seeking injunctive relief under the Disabled Persons Act at all.
15           2. Damages under the Unruh Civil Rights Act, which provides for actual
16   damages and a statutory minimum of $4,000 for each offense.
17           3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
18   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
19
     Dated: February 17, 2021             CENTER FOR DISABILITY ACCESS
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21
22
                                          By: _______________________
23
                                                Russell Handy, Esq.
24                                              Attorney for plaintiff
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     Complaint
